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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

                                          )
   BABY DOE, A CITIZEN OF AFGHANISTAN )
   CURRENTLY RESIDING IN NORTH            )            Civil Action No. 3:22-CV-49
   CAROLINA, BY AND THROUGH NEXT          )
   FRIENDS, JOHN AND JANE DOE; AND        )
   JOHN AND JANE DOE, CITIZENS OF         )            Judge Norman K. Moon
   AFGHANISTAN AND LEGAL GUARDIANS )
   OF BABY DOE,                           )            Magistrate Judge Joel C. Hoppe
                                          )
                              Plaintiffs, )
                                          )
                       v.                 )
                                          )
   JOSHUA MAST, STEPHANIE MAST,           )
   RICHARD MAST, KIMBERLEY MOTLEY, )
   AND AHMAD OSMANI,                      )
                                          )
                              Defendants, )
                                          )
                       and                )
                                          )
   UNITED STATES SECRETARY OF STATE )
   ANTONY BLINKEN AND UNITED STATES )
   SECRETARY OF DEFENSE GENERAL           )
   LLOYD AUSTIN,                          )
                              Nominal     )
                              Defendants. )
   _______________________________________)

   [PROPOSED] ORDER GRANTING NON-PARTY PIPE HITTER FOUNDATION INC.’S
     MOTION TO QUASH SUBPOENA OR FOR ENTRY OF A PROTECTIVE ORDER

          Having considered Non-Party Pipe Hitter Foundation Inc.’s (“Pipe Hitter”) Motion to

   Quash Subpoena or for Entry of a Protective Order, as well as the accompanying brief and exhibits;

   any Opposition thereto; any Reply; and for good cause shown, it is hereby:

          ORDERED that Non-Party Pipe Hitter’s Motion is GRANTED;




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          FURTHER ORDERED that Plaintiff’s Subpoena to Pipe Hitter is hereby QUASHED

   insofar as it seeks testimony from Pipe Hitter; and

          FURTHER ORDERED that this Court hereby ISSUES a PROTECTIVE ORDER

   prohibiting Plaintiff from attempting to depose any Pipe Hitter officers, agents, employees,

   contractors, vendors, or other personnel.

          SO ORDERED.

                                                           ________________________
                                                           Hon. Norman K. Moon
                                                           U.S. District Judge




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